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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA



   IN RE: Due Process Protections Act                 CASE NO. 3:20-mc-20-J-32


                       STANDING ORDER REGARDING
                      DUE PROCESS PROTECTIONS ACT

         Pursuant to the Due Process Protections Act, the Court confirms the

   United States’ obligation to produce all exculpatory evidence to the defendant

   pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny and orders

   the United States to do so. Failing to do so in a timely manner may result in

   consequences, including exclusion of evidence, adverse jury instructions,

   dismissal of charges, contempt proceedings, and sanctions.

         The Clerk is directed to enter this order in all criminal cases pending on

   October 21, 2020, or filed thereafter.

         DONE AND ORDERED in Jacksonville, Florida on December 1, 2020.
